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 8                              UNITED STATES DISTRICT COURT
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                            CENTRAL DISTRICT OF CALIFORNIA
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     JENNY LISETTE FLORES, et al.,                 Case No.: CV 85-4544-DMG (AGRx)
11
                                                   ORDER RE EXTENSION OF TIME
12                Plaintiffs,                      [1101]
13
                  vs.
14
15   MERRICK GARLAND, Attorney General
     of the United States, et al.,
16
17                Defendants.
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20         For good cause shown, the Court GRANTS the Special Monitor Andrea Sheridan
21   Ordin’s request for an extension of time to file her and Special Expert Dr. Paul Wise’s
22   next interim report, originally due on March 31, 2021. The interim report will now be
23   due on April 2, 2021, and the parties’ responses thereto will be due on April 9, 2021.
24   IT IS SO ORDERED.
25
26   DATED: March 31, 2021                        ________________________________
                                                  DOLLY M. GEE
27
                                                  UNITED STATES DISTRICT JUDGE
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